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Mike McHenry, 5/8/2006

 

 

1 IN THE UNITED STATES DISTRICT COURT
2 FOR THE WESTERN DISTRICT OF WASHINGTON
3 AT SEATTLE

 

 

 

5 UNITED STATES OF AMERICA,

6 et al.,
No. C70-9213
7 Plaintiffs,

 

Subproceeding No. 01-1
(Culverts)

9 STATE OF WASHINGTON, et al.,

e
2
Re

10 Defendants.

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12 DEPOSITION UPON ORAL EXAMINATION
13 OF

14 MIKE MCHENRY

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9:00 a.m. ;
17
May 8, 2006

 

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19 OFFICE OF THE ATTORNEY GENERAL
900 Fourth Avenue 2000
20 Seattle, Washington 98164
21
22 JACQUELINE L. BELLOWS
CCR 2297

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1 Q Were there any other state-owned culverts that you

2 identified in this, the Salt Creek study?

3 A Yes. There were several owned by the Department of

4 Natural Resources.

5 Q Where were those at?

6 A On the west side of the drainage, DNR has a block of |

7 state-owned forest lands. They're all contained in that

8 block of 1200 acres.

9 Q Do you know if the DNR had previously identified those |
10 as barrier culverts? |
11 A I think between: 2003 and 2005 they did some work out
12 there to identify them, but I'm not absolutely certain.
13 Q Did the tribe provide a copy of this Salt Creek report
14 to the DNR?
15 A Yes.
16 Q And presumably you sent one to DFW as well?
17 A Yes.
18 Q So in the Salt Creek study, did you make any effort to
19 quantify the potential improvement in fish populations
20 that could be gained by eliminating these barrier
21 culverts?

22 A We didn't try to estimate numbers of fish. We used

23 linear or aerial measures of habitat above, and the type
24 of habitat.

25 Q Is it possible to estimate the numbers of fish that

 

 

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1 Q Yes.
2 A Informal assessments? |
3 Q Either formal or informal.
4 A Yes. The answer would be we've done some informal
5 assessments.
6 Q What do you mean by "informal assessment"?
7 A That means me getting out and walking to the culvert and
8 looking at it and applying my professional judgment. |
9 Q Through the course of those informal assessments, have
10 you identified any state-owned barrier culverts?
11 A Yes.
12 QO Where were those, if you recall? |
:
13 A Siebert Creek, Ennis Creek, Dry Creek, Colville Creek,
14 Joe Creek, Butler Creek, unnamed tributary to the Hoko,
15 Field Creek, and there's likely others. That's what I
16 remember off the top of my head.
17 Q Were those all state Department of Transportation-owned
18 culverts?
19 A Yeah.
20 Q Did you make the state aware of those barrier culverts
21 that you've identified?
22 A We have.
23 Q Do you know if all of those are on the array of barrier
24 culverts that the DFW has identified?
25 A I believe the majority of those culverts are on their

 

 

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inventory.

Q Are there other examples, other than the ones you've

just named, with the Pysht and Salt Creek and then
these, this other group, other examples of barrier
culverts that you intend to talk about at trial?
MR. BERNTSEN: Are we talking about just the
tribe's watershed, Elwha?

MR. DIETRICH: Is that an objection?

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MR. BERNTSEN: I'm just seeking clarification

for the witness.

MR. DIETRICH: All right.

A There will likely be other culverts from outside the

EBElwha area.

and accustomed areas, have we pretty much covered the
ones that you would anticipate talking about as

illustrative examples?

A There may be others.
QO Which others?
A I have to do.the full assessment of the potential

Q (By Mr. Dietrich) Mr. McHenry, within the Elwha's usual

 

culverts and make that evaluation. I haven't done that

yet.

Q Now, with respect to culverts located outside the

Elwha's U&A's have you identified any particular

culverts that you intend to talk about as illustrative

 

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1 . examples?

2 A The only thing I've done is to look at some of the

3 databases, the DFW database in particular, and to talk

4 to some of the other tribal biologists. But I do not

5 have a formal list of culverts at this time. :

6 Q Okay. Now, I think we talked about that you use the |
7 same assessment protocol for identifying barriers that

8 DFW uses. Are you familiar with the protocols that the

9 ‘DEW uses to ascertain the amount of upstream habitat
10 that might be associated with a particular barrier
11 culvert?
12 A Yes, I'm somewhat aware of the methodology.

13 Q Do you intend to express any disagreement or criticism

14 of that methodology during your testimony at trial?

15 A No.

16 Q How about, are you familiar with the protocols that are

17 used to design culverts that are fish passable? Are you
18 familiar with those at all?
19 MR. SLEDD: Objection as to vagueness. It can
20 be multiple agencies.
21 QO (By Mr. Dietrich) Mr. McHenry, are you familiar with the
22 protocols set forth in the Washington State Department
23 of Fish & Wildlife's manual for culvert design such that
24 enables a design that is fish passable?
25 A I have read the methods.

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1 CERTIFICATE

Do

STATE OF WASHINGTON _ )
) SS
COUNTY OF KING )

T, Jacqueline L. Bellows, a Notary Public in and for

 

 

the State of Washington, do hereby certify:
That the foregoing deposition was taken before me at

the time and place therein set forth;

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That the witness was by me first duly sworn to
9 testify to the truth, the whole truth, and nothing but the

10 truth; and that the testimony of the witness and all

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11 objections made at the time of the examination were recorded
12 stenographically by me, and thereafter transcribed under my
13 direction;
14 That the foregoing transcript is a true record of
15 the testimony given by the witness and of all objections made

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16 at the time of the examination, to the best of my ability.

17 I further certify that I am in no way related to any
18 party to this matter nor to any of counsel, nor do I have any
19 interest in the matter.
20 Witness my hand and seal this 19th day of /

21 May, 2006.

 

22
23 Jacqueline L. Bellows, Notary
Public in and for the State
24 of Washington, residing at
Arlington. Commission
25 expires October 19, 2006. |

 

 

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